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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

DANTE DEMARTINI, et al.,

Plaintiffs,

Vv.

MICROSOFT CORPORATION,
Defendant.

Case No. 3:22-cv-08991-JSC
STIPULATED REQUEST TO MODIFY
EXPERT DISCOVERY SCHEDULE

Courtroom 8—1 9th Floor
Honorable Jacqueline S. Corley

Dept.:
Judge:

STIPULATED REQUEST TO MODIFY EXPERT
DISCOVERY SCHEDULE

CASE NO. 3:22-Cv-08991-JSC

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In light of the Court’s minute order vacating the February 5, 2024 trial date (ECF No. 309), and
to fully resolve Plaintiffs’ concerns over the timing of Defendants’ November 20, 2023 data production,
the parties have agreed to modify the existing expert discovery schedule as follows:

e Plaintiffs serve expert report: December 12, 2023.
e Defendant serves expert report: January 12, 2024.

e Plaintiffs serve rebuttal expert report (if any): February 12, 2024.
This modification will not alter any other deadlines in the case. The case schedule was previously
modified by stipulation on December 13, 2023.
This scheduling modification resolves Plaintiffs’ concerns over the timing of Microsoft’s
November 20, 2023 data production, as raised by Plaintiffs in the parties’ joint case management
statement filed in advance of the December 21, 2023 case management conference.

IT IS SO STIPULATED.

Dated: January 17, 2024 By: /s/ Valarie C. Williams

Valarie C. Williams
Counsel for Microsoft Corporation

Dated: January 17, 2024 By: /s/ Cadio Zirpoli

Cadio Zirpoli
Counsel for Plaintiffs

Filer’s Attestation
Each of the other Signatories have concurred in the filing of the document, which shall serve in lieu of

their signatures on the document.

By: /s/ Valarie C. Williams
Valarie C. Williams

STIPULATED REQUEST TO MODIFY EXPERT 1 CASE NO. 3:22-Cv-08991-JSC
DISCOVERY SCHEDULE

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PROPOSED ORDER

PURSUANT TO STIPULATION,
IT IS SO ORDERED.

Dated: _ January 17, 2024 By: Trepualtie Sos

The Hon. Jacqueline Scott Corley
United States District Judge

STIPULATED REQUEST TO MODIFY EXPERT 2 CASE NO. 3:22-Cv-08991-JSC
DISCOVERY SCHEDULE

